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                                         Bankruptcy Case Number: 15-15848


                                                        03088-PAE-DE-034833282




             CERTIFICATE OF DEBTOR EDUCATION

I CERTIFY that on August 31, 2020, at 7:50 o'clock PM CDT, Violet R Jones
completed a course on personal financial management given by telephone by
Debt Education and Certification Foundation, a provider approved pursuant to 11
U.S.C. 111 to provide an instructional course concerning personal financial
management in the Eastern District of Pennsylvania.




Date:   August 31, 2020                  By:      /s/Maria Arreguin


                                         Name: Maria Arreguin


                                         Title:   Counselor
